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                                                                                    May 15, 2025

Via ECF

The Honorable Gregory H. Woods
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 2260
New York, NY 10007
(212) 805-0296

Re: In re SolarEdge Technologies, Inc. Securities Litigation, No. 1:23-cv-09748-GHW

The parties1 to this action, through their respective counsel, write pursuant to the Court’s May 7,
2025 Order (the “Order”) directing the parties to submit, by May 16, 2025, a joint letter to advise
the Court on the status of this action. See ECF No. 83. The parties advise as follows:

1) A brief statement of the nature of the case, the principal claims and defenses, and the
   major legal and factual issues that are most important to resolving the case, whether by
   trial, settlement or dispositive motion.

Plaintiffs’ Statement

Plaintiffs allege that, between February 13, 2023 and October 19, 2023, inclusive (the “Class
Period”) Defendants violated Sections 10(b) and 20(a) of the Securities Exchange Act of 1934
(“Exchange Act”) and Rule 10b-5 thereunder by knowingly or recklessly misrepresenting, among
other things, (i) the drivers of SolarEdge’s financial performance, (ii) the reasons for the
Company’s ballooning inventory, (iii) that inventory levels at the Company’s distributors were
low or did not reflect declining demand, (iv) that demand for SolarEdge’s products in Europe
remained strong, and (v) the Company’s forecasts were inflated and/or not based on market reports
or SolarEdge’s own internal data. On April 6, 2024, this Court held that Plaintiffs’ First Amended
Complaint (ECF No. 55 (“FAC”)) “adequately pleaded that Defendants knowingly misrepresented
inventory levels at SolarEdge's distributors,” and dismissed Plaintiffs’ other claims without
prejudice. See In re SolarEdge Techs., Inc. Sec. Litig., 2024 WL 4979296, at *1 (S.D.N.Y. Dec. 4,
2024). On January 3, 2024, Plaintiffs filed the SAC, which reasserted the sustained claims from

1
  The parties are Lead Plaintiffs Mivtachim the Workers Social Insurance Fund Ltd., Keren
Hgimlaot Hmerkazit Histadrut Central Pension Fund Ltd., Kerren Makefet Pension and Provident
Center Cooperative Society Ltd., the Hadassah Workers Pension Fund Ltd., and Hachshara
Insurance Company Ltd., and Named Plaintiff Javier Alcides Cascallar (collectively, “Plaintiffs”)
and SolarEdge Technologies, Inc. (“SolarEdge” or the “Company”), Zvi Lando (“Lando”), the
Company’s former Chief Executive Officer (“CEO”), Ronen Faier (“Faier”), the Company’s
former Chief Financial Officer (“CFO”), Lior Danziger, the Company’s former Director of
Investor Relations and Finance Operations, and J.B. Lowe, the Company’s Head of Investor
Relations (collectively, “Defendants”).



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the FAC and realleged the FAC’s dismissed claims with additional allegations. See ECF No. 72.
On April 6, 2024, this Court held that, in addition to sufficiently pleading that Defendants
knowingly misrepresented inventory levels at SolarEdge’s distributors, the SAC “plausibly
pleaded that Defendants’ statements regarding ‘strong’ demand in Europe were false,” and made
knowingly or recklessly. See In re SolarEdge Techs., Inc. Sec. Litig., 2025 WL 1031154, at *8, 12
(S.D.N.Y. Apr. 6, 2025).

To succeed on a dispositive motion, defeat any dispositive motion by Defendants, and/or succeed
at trial, Plaintiffs must prove that Defendants knowingly or recklessly made materially false and
misleading statements concerning “low” inventory levels and demand in Europe, and that those
misstatements caused Plaintiffs’ and members of the Proposed Class’s (as defined below) losses.
In addition, Plaintiffs must obtain class certification pursuant to Fed. R. Civ. P. 23 (“Rule 23”).

Defendants’ Statement

As noted in Plaintiffs’ Statement, Plaintiffs allege that, between February 13, 2023, and October
19, 2023, inclusive (the “Purported Class Period”) Defendants violated Sections 10(b) and 20(a)
of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 thereunder by
knowingly or recklessly misrepresenting, among other things: (1) statements discussing
SolarEdge’s revenue; (2) statements offering explanations for the increase in inventory levels; (3)
statements characterizing inventory levels as “low”; (4) statements regarding the strength of
demand in Europe; and (5) statements regarding sell-through data.

On December 4, 2024, this Court dismissed all claims related to categories (1), (2), (4), and (5).
On January 3, 2024, Plaintiffs filed their Second Amended Complaint (“SAC”). See ECF No. 71.
On February 10, 2025, Defendants moved to dismiss the SAC for failure to state a claim and this
Court ruled on Defendants’ motion on April 6, 2025. The Court held that the Second Amended
Complaint did not revive Plaintiffs’ dismissed claims concerning category (1) and (5) statements.
See In re SolarEdge Techs., Inc. Sec. Litig., 2025 WL 1031154, at *15, 18 (S.D.N.Y. Apr. 6, 2025).
While the Court ruled that Plaintiffs adequately pleaded material misstatements for categories (2),
(3), and (4)—reviving Plaintiffs’ claims concerning demand in Europe—this Court held that
Plaintiffs have again failed to plead scienter with respect to category (2) statements. With respect
to one statement in category (4) (SAC ¶ 169), the Court held that the statement was forward-
looking and therefore protected by the PSLRA’s safe harbor. Id. at *24. Plaintiffs chose not to
file a third amended complaint to cure these deficiencies.

Plaintiffs must obtain class certification pursuant to Fed. R. Civ. P. 23 (“Rule 23”). Defendants
do not believe that Plaintiffs will succeed in certifying the Proposed Class (see Question 3).

To the extent the Proposed Class is certified and the case proceeds to merits, Plaintiffs must prove,
among other things, “[1] a material misrepresentation or omission by the defendant and [2] the
plaintiff’s reliance on that misrepresentation or omission.” Goldman Sachs Grp. v. Ark. Teacher
Ret. Sys., 594 U.S. 113, 118 (2021). Plaintiffs will be unable to prove that Defendants made a
material misstatement or omission, or that Plaintiffs relied on Defendants’ alleged
misrepresentations concerning low inventory levels or demand in Europe. Furthermore, Plaintiffs




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will be unable to show that Defendants’ conduct resulted in any economic loss, or that Defendants
caused these alleged losses.

2) A brief statement by plaintiff as to the basis of subject matter jurisdiction and venue,
   and a brief statement by each party as to the presence or absence of subject matter
   jurisdiction.

Plaintiffs’ Statement

This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1331 and
Section 27 of the Exchange Act (15 U.S.C. § 78aa) because Plaintiffs’ claims arise under Sections
10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b), 78t(a)) and Rule 10b-5 promulgated
thereunder (17 C.F.R. § 240.10b-5).

Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and Section 27 of the Exchange
Act (15 U.S.C. § 78aa(c)) because substantial acts in furtherance of the alleged fraud and/or the
effects of the fraud occurred in this district, including dissemination of materially false and/or
misleading information. In addition, SolarEdge’s common stock trades on the NASDAQ Global
Select Market (“NASDAQ”), which is located in this district.

Defendants’ Statement

Defendants do not dispute that this Court currently has subject matter jurisdiction over this action
pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa) because
Plaintiffs’ claims arise under Sections 10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b),
78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R. § 240.10b-5). Defendants, however,
do not waive any arguments or defenses with respect to this Court’s subject matter jurisdiction and
preserve the right to move to dismiss this action pursuant to Federal Rule of Civil Procedure
12(b)(1).

Defendants do not dispute that venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and
Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)).

3) A brief description of any (i) motions that any party seeks or intends to file, including the
   principal legal and other grounds in support of and opposition to the motion, (ii) pending
   motions, and (iii) other applications that are expected to be made at the status conference.

Plaintiffs’ Statement

Plaintiffs intend to move to certify a class of all persons or entities, excluding Defendants and
certain related parties, who or which, during the Class Period, purchased or otherwise acquired
SolarEdge securities and were damaged thereby (the “Proposed Class”). To obtain class
certification, Plaintiffs must show that the Proposed Class meets the requirements of Rule 23(a)-
(b). Plaintiffs will assert that class certification is appropriate under Rule 23(a) because (i) there
are thousands of potential class members, and thus the Proposed Class is so numerous that joinder
is impractical; (ii) questions of law and fact, i.e., the elements of claims under Section 10(b) and
Rule 10b-5 and the support facts alleged in Plaintiffs’ complaints, are common to the class;


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(iii) Plaintiffs’ securities fraud claims arise out of the purchase of SolarEdge stock during the Class
Period, like all other Proposed Class Members’ claims, and thus are typical of the Proposed Class;
(iv) Plaintiffs will fairly and adequately protect the interests of the Proposed Class, based on,
among other things, the lack of any conflict of interest, the size of their investment in SolarEdge,
their participation in litigating this action, and their retention of competent counsel; and
(v) Plaintiffs are entitled to the “fraud-on-the-market” presumption and/or presumption of reliance
under Affiliated Ute because, among other things, SolarEdge’s stock traded in an efficient market
and the sharp decline in stock price upon corrective disclosures demonstrates price impact. See
generally In re Synchrony Fin. Sec. Litig., 2023 WL 1503032 (D. Conn. Feb. 3, 2023)

Defendants’ Statement

Class certification requires a “rigorous analysis” of Rule 23’s prerequisites, which plaintiffs must
prove by a preponderance of the evidence. Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013).
To be certified as a class action, the Proposed Class must satisfy all of the requirements of Rule
23(a). Rule 23(a) provides that a named party may sue on behalf of similarly situated individuals
if: (1) the class is so numerous that joinder of all putative class members is impracticable
(“numerosity”); (2) there are questions of law or fact common to the putative class
(“commonality”); (3) the claims or defenses of the named party are typical of the claims or
defenses of the putative class members (“typicality”); and (4) the named party will fairly and
adequately protect the interests of the class (“adequacy”). Fed. R. Civ. P. 23(a).

Plaintiffs intend to invoke the presumption of class-wide reliance under Basic v. Levinson, 485
U.S. 224 (1988) in order to satisfy Rule 23(b)(3)’s requirement that class-wide issues predominate
in this case. Defendants will argue that the Basic and/or Affiliated Ute presumptions do not apply
to Plaintiffs’ claims. See Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258 (2014)
(evidence “defeat[ed] the [Basic] presumption at the class certification stage”). Defendants intend
to challenge the Proposed Class on other grounds, including, but not limited to, additional
challenges to commonality and typicality.

4) A brief description of any discovery that has already taken place, and any discovery that
   is likely to be admissible under the Federal Rules of Evidence and material to proof of
   claims and defenses raised in the pleadings. (This is narrower than the general scope of
   discovery stated in Rule 26(b)(1)).

Plaintiffs’ Statement:

No discovery has taken place. Plaintiffs anticipate introducing documentary evidence, testimony,
and expert evidence to support their claims and overcome defenses asserted by Defendants.
Documentary evidence is likely to consist of SolarEdge business records and email, voice, text,
and instant message communications among Defendants and SolarEdge employees. Testimonial
evidence is likely to consist of testimony from Defendants, current or former employees of
Defendants, SolarEdge customers, and experts.




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Defendants’ Statement

Due to the fact that discovery was stayed through the Court’s ruling on Defendants’ Motion to
Dismiss the SAC, discovery has not yet started. Defendants anticipate introducing documentary
evidence, testimony, and expert evidence to support their defenses, including, but not limited to,
expert evidence related to class certification, market efficiency, price impact, damages, solar
power sales and installation, and market demand for solar energy, in addition to documentary
evidence and testimony related to the investment history and background information of all named
plaintiffs.

5) A computation of each category of damages claimed, see Fed. R. Civ. P. 26(a)(1)(A)(iii).

Plaintiffs’ Statement

Plaintiffs have retained an expert to perform a damages analysis for their claims. Although
Plaintiffs are not able to proffer an estimate of damages at this time, approximately 30-40 million
shares were affected by Defendants’ alleged fraud, and SolarEdge’s share price declined $43.96
per share, or 18.3%, and $31.08 per share, or 27.2%, respectively, as the truth regarding
Defendants’ allegedly false statements emerged. Although the full price declines may not be solely
attributable to Defendants’ alleged fraud, these amounts suggest substantial class-wide damages.

Defendants’ Statement

Defendants do not believe that Plaintiffs suffered any damages as a result of any action or statement
of any Defendant. Plaintiffs will be unable to prove that SolarEdge’s share price declined as a
result of any alleged misstatement or omission. Accordingly, Plaintiffs will be unable to prove
any damages.

6) A statement describing the status of any settlement discussions and whether the parties
   would like a settlement conference; and

Parties’ Statement

The parties have not engaged in settlement discussions. If the parties ultimately engage in such
discussions, the parties anticipate engaging a private mediator.

7) Any other information the parties believe may assist the Court in resolving the action.

Parties’ Statement

The parties do not have any additional information for the Court at this time.




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Respectfully submitted,

 POMERANTZ LLP                                   GIBSON, DUNN & CRUTCHER LLP

 By: /s/ Brian Calandra                          By: /s/ Christopher D. Belelieu
 Brian Calandra                                  Christopher D. Belelieu
 Jeremy A. Lieberman                             Nathan C. Strauss
 600 Third Avenue, 20th Floor                    Bethany J. Saul
 New York, New York 10016                        200 Park Avenue
 Telephone: (212) 661-1100                       New York, New York 10166-0193
 Facsimile: (917) 463-1044                       Telephone: (212) 351-4000
 bcalandra@pomlaw.com                            Facsimile: (212) 351-4035
 jalieberman@pomlaw.com                          cbelelieu@gibsondunn.com
                                                 nstrauss@gibsondunn.com
 Attorneys      for    Lead    Plaintiffs        bsaul@gibsondunn.com
 Mivtachim the Workers Social
 Insurance Fund Ltd., Keren Hgimlaot             Attorneys for Defendants
 Hmerkazit Histadrut Central Pension
 Fund Ltd., Kerren Makefet Pension
 and Provident Center Cooperative
 Society Ltd., the Hadassah Workers
 Pension Fund Ltd., and Hachshara
 Insurance Company Ltd.; Named
 Plaintiff Javier Alcides Cascallar; and
 the Class




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